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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

KAREN COCHENOUR, individually and on             )
behalf of others similarly situated,             )
                                                 )
       Plaintiff,                                )
                                                 )    Civil Action No. 1:25-CV-00007-RP
v.                                               )
                                                 )
360TRAINING.COM, INC., D/B/A                     )
MORTGAGE EDUCATORS AND                           )
COMPLIANCE, INC.,                                )
                                                 )
       Defendant.                                )

                                     ORDER

       Pursuant to Local Civil Rule CV-7 of the United States District Court for the Western

District of Texas, and having considered the Joint Motion to Extend Deadline for Defendant to

Respond to Complaint and Set Briefing Schedule (“Motion”) filed by Plaintiff Karen Cochenour

and Defendant 360training.com, Inc., the Court ORDERS the Motion be GRANTED.

       The deadline for Defendant 360training.com, Inc. to respond to Plaintiff’s Class Action

Complaint is extended from February 26, 2025 up to and including March 5, 2025.

       The Court enters the following modified briefing schedule:

               1. Plaintiff shall file her response by April 9, 2025.

               2. Defendant shall file its reply by April 23, 2025.


     SO ORDERED.

SIGNED: This 27th day of February, 2025.




                                                     Robert Pitman
                                                     U.S. District Judge



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